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                           Exhibit 21
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                                                         Liberty Square Building
                                                         450 5th Street, N.W.
                                                         Washington, DC 20001


                                                         July 23, 2021

    Via Email (julie.elmer@freshfields.com)

    Julie Elmer, Esq.
    Freshfields Bruckhaus Deringer LLP
    700 13th Street, NW, 10th Floor
    Washington, DC 20005

                   Re:    Civil Investigative Demand No. 30471 – Miscellaneous Items

    Dear Julie:

           I write to address certain topics related to Civil Investigative Demand No. 30471 (“the
    CID”) that have arisen over the last several weeks. I address each in more detail below.

    Chats

           In November 2020, Alphabet’s previous outside counsel assured the Division that
    “[t]hose on a hold notice are instructed to mark relevant discussions as ‘on the record,’” and that
    such chats would be preserved and, as appropriate, produced. E-mail from Stuart Baimel, Wilson
    Sonsini Goodrich & Rosati, to John Hogan, DOJ (Nov. 19, 2020). Likewise, in January 2021,
    you confirmed:

            The preservation notice instructs employees to retain all responsive information, whether
            that information is on Google applications like G Suite or third-party apps. For chats,
            employees are instructed to keep all potentially responsive conversations as “on the
            record,” and are sent a reminder approximately every six months. Relevant “on the
            record” chats have been collected and produced as part of the Company’s document
            productions.

    Letter from Julie Elmer, Freshfields, to John Hogan, DOJ (Jan. 28, 2021).

            In the course of reviewing chats that Alphabet has produced to the Division, we have
    encountered several instances where a chat participant requests to have a conversation with
    history off. Further, in some cases, a chat participant suggests taking the conversation to “ping.”
    In one example, chat participants discuss having “a ping thread with history off” even though the
    participants understand that they are subject to a litigation hold. GOOG-DOJ-AT-01018638 at -
    639. Eventually, the same chat participant who suggested “a ping thread with history off”
    informs other participants that “this thread has history on” and “Please be cautious.” Id. at -640.
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            The Division still awaits a response to our letter of June 1 in which we requested that
    Alphabet provide, for each refresh and Group D custodian, the number of “on the record” chats
    collected from each such custodian. We further request at this time that Alphabet provide
    clarification regarding references to “ping threads,” whether such language refers to a Google
    application or a third-party product, whether Alphabet has preserved such materials, and the
    number of chats from “ping threads” that Alphabet has produced in response to the CID.

    Redactions

            The Division has reviewed several documents that appear to have overly broad privilege
    redactions. For example, GOOG-DOJ-AT-01887939 appears to be a slide deck where the title of
    the deck is redacted including a reference to what appears to be the name of a project.1 Further,
    with the exception of one slide, the entire document appears redacted. Based on privilege log
    volume 5, which Alphabet originally produced on July 14 and then reproduced on July 22,
    Alphabet claims the redacted portions of this document are protected by attorney-client privilege.

            As noted in my letter of April 6, attorney-client communications are “privileged only if
    they constitute legal advice, or tend directly or indirectly to reveal the substance of a client
    confidence.” Alexander v. FBI, 186 F.R.D. 102, 110-11 (D.D.C. 1998) (quoting United States v.
    Defazio, 899 F.2d 626, 635 (7th Cir. 1990)). Communications dealing with “business matters,
    management decisions or business advice are not protected by the [attorney-client] privilege.”
    Boca Investerings Partnership v. Unites States, 31 F. Supp. 2d 9, 11 (D.D.C. 1998) (citation
    omitted). Additionally, according to Instruction 10 in the CID, Alphabet is required to “[p]roduce
    all non-privileged portions of any responsive document (including non-privileged or redacted
    attachments) for which a privilege claim is asserted.” The Division requests that Alphabet review
    the redactions in this document and produce all non-privileged portions of the document.

    Document Links

            Alphabet has produced several documents that contain notes from Business Council
    (“BC”) deal reviews and links to project materials. For example, GOOG-DOJ-AT-01668473 at -
    489 contains deal review notes from September 17, 2018 that appear to include two document
    links associated with the words “Materials” and “here.” In another example, GOOG-DOJ-AT-
    01895607 appears to contain a link to a document titled “Project Sunday (CONFIDENTIAL).”
    The Division requests that Alphabet identify whether it has collected and produced documents
    connected to links within BC deal review documents and links to all Project Sunday materials.
    Specifically, please identify the bates number or document control number on a privilege log for
    the documents associated with “Materials,” “here,” and “Project Sunday (CONFIDENTIAL)” as
    described above.

    Intranet and Dashboard Links

          In your letter of April 13, you provided additional information regarding certain
    document links identified by the Division in my letter dated February 25, 2021. Specifically, you

    1
        The Division notes that the metadata indicates this document refers to Project Sunday.
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    indicated that some links were associated with intranet sites and dashboards. Upon review of the
    documents recently produced, your letter of June 4, and your follow-up email of June 9, it
    appears that the Division has not received the documents connected to the links in the chart
    below. The Division requests that Alphabet identify the bates number or document control
    number on a privilege log for the documents associated with these links.

                   Document Link                              Bates Number that Contains Link
     go/adcompetition                                               GOOG-DOJ-15566470
                                                                    GOOG-DOJ-05216282
     go/competition
                                                                    GOOG-DOJ-08149776
     go/dbm-yt                                                      GOOG-DOJ-14195604
     go/industrymetrics                                             GOOG-DOJ-11776374
     go/ob-performance-dash                                         GOOG-DOJ-12862093
                                                                    GOOG-DOJ-13116777
                                                                    GOOG-DOJ-10776725
     go/platforms-compete                                           GOOG-DOJ-11871133
                                                                    GOOG-DOJ-11891577
                                                                    GOOG-DOJ-13114120
     go/rany-dash                                                   GOOG-DOJ-14195604
                                                                    GOOG-DOJ-03804640
     go/sow-360
                                                                    GOOG-DOJ-04188001
     go/ssbfm                                                       GOOG-DOJ-03858386
     go/ytadvertisers                                               GOOG-DOJ-13119676
                                                                    GOOG-DOJ-03858650
     go/ytstaffdash
                                                                    GOOG-DOJ-13119469

    ACM and BC Phase 2 Decks

            The Division has not identified in Alphabet’s document productions presentation decks
    submitted for Phase 2 review during the Ads and Commerce meeting (“ACM”) on June 12, 2020
    or the BC meeting on June 18, 2020. A link to the ACM deck is mentioned in GOOG-DOJ-AT-
    01646153. References and links to the BC deck and meeting identifier (BC20-016) are described
    in GOOG-DOJ-AT-01411601. The Division requests that Alphabet identify the bates number or
    document control number on a privilege log for these documents.

           Please let me know if you have any questions.

                                                        Sincerely,

                                                        /s/

                                                        John J. Hogan
                                                        Trial Attorney
                                                        Antitrust Division
                                                        U.S. Department of Justice
